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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SUZANNE GREENE,

             Plaintiff,

       vs.                                Civil Action No. 1:19-cv-1338-AT

TYLER TECHNOLOGIES, INC.,

             Defendant.

DEFENDANT’S CERTIFICATE OF SERVING ANSWERS AND OBJECTIONS
   TO PLAINTIFF’S FIRST CONTINUING INTERROGATORIES AND
                   CERTIFICATE OF SERVICE

      Pursuant to L.R. 26.3(a), I hereby certify that I have this day caused to be

served a copy of Defendant’s Answers and Objections to Plaintiff’s First Continuing

Interrogatories by electronic mail on the following counsel of record:

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      I further certify that I electronically filed this Certificate of Service with the

Clerk of the Court using the CM/ECF system which will automatically send e-mail

notification of such filing to all counsel of record.




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Dated: September 13, 2019
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